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 7                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 8                                        AT SEATTLE
 9    UNITED STATES OF AMERICA,
10                                                          CASE NO. CR06-425-MJP

11
               Plaintiff,                                   SUMMARY REPORT OF U.S.
12                                                          MAGISTRATE JUDGE
                  v.                                        AS TO ALLEGED VIOLATIONS
13                                                          OF SUPERVISED RELEASE
      ANTHONY TANGUMA,
14
               Defendant.
15
16
17                                            INTRODUCTION

18          I conducted a hearing on alleged violations of supervised release in this case on February 15,

19   2008. The United States was represented by Douglas Whalley. The defendant was represented by

20   Christopher Black.

21                                   CONVICTION AND SENTENCE

22          Defendant had been convicted of Conspiracy to Distribute Cocaine on or about June 29,

23   2007. The Honorable Marsha J. Pechman of this court sentenced Defendant to six months of

24   confinement, followed by three years of supervised release. The conditions of supervised release

25   included requirements that defendant comply with the standard 13 conditions.

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     SUMMARY REPORT OF U.S. MAGISTRATE JUDGE AS
     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE
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 1                                    DEFENDANT'S ADMISSION
 2         U.S. Probation Officer Andrew Lorenzen for Kathi Jo Springer alleged that Defendant
 3   violated the conditions of supervised release in the following respects:
 4         (1)    Failing to successfully complete placement at the residential reentry center by leaving
 5                the facility without permission, on or before November 20, 2007, in violation of the
 6                special condition that he reside at the RRC for up to 180 days;
 7         (2)    Failing to submit a truthful and complete written report to the U.S. Probation Officer
 8                withing the first five days of each month, for the months of September, October, and
 9                November 2007, in violation of standard condition number two.
10   I advised the defendant of the charges and of his constitutional rights. The defendant admitted to
11   violation numbers 1 and 2, waived any hearing as to whether they occurred, and consented to
12   having the matter set for a disposition hearing.
13                       RECOMMENDED FINDINGS AND CONCLUSIONS
14         Based upon the foregoing, I recommend the court find that Defendant has violated the
15   conditions of his supervised release as alleged and set the matter for a disposition hearing.
16         Defendant has been detained pending a final determination by the Court.
17         DATED this 19th day of February, 2008.



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20                                                        MONICA J. BENTON
21                                                        United States Magistrate Judge
22
23   cc:   Sentencing Judge               :       Hon. Marsha J. Pechman
           Assistant U.S. Attorney        :       Douglass Whalley
24         Defense Attorney               :       Chistopher Black
           U. S. Probation Officer        :       Kathi Jo Stringer
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     SUMMARY REPORT OF U.S. MAGISTRATE JUDGE AS
     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE
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